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   1. Colorado/Wyoming – service in this district is impacted by COVID-19 and
      employee unavailability. Employees from other facilities are being moved to
      the processing plant to mitigate this problem, as needed. Overtime is being
      maximized. USPS also hired new employees. As discussed in Mr. Barber’s
      and Mr. Coleman’s testimony on October 31, 2020, and in the document
      titled, “Extraordinary Measures – Return Ballot Mail Processing Policy,”
      dated October 28, 2020, special, extraordinary measures to process and
      deliver ballots are now in place.

   2. Central Pennsylvania – service in this district is impacted by COVID-19 and
      employee unavailability. Employees from other facilities are being moved to
      the processing plant to mitigate this problem, as needed. Overtime is being
      maximized. USPS has also hired new employees. As discussed in Mr.
      Barber’s and Mr. Coleman’s testimony on October 31, 2020, and in the
      document titled, “Extraordinary Measures – Return Ballot Mail Processing
      Policy,” dated October 28, 2020, special, extraordinary measures to process
      and deliver ballots are now in place.

   3. Detroit – service in this district is impacted by COVID-19 and employee
      unavailability. Employees from other facilities are being moved to the
      processing plant to mitigate this problem, as needed. Overtime is being
      maximized. USPS has also hired new employees. As discussed in Mr.
      Barber’s and Mr. Coleman’s testimony on October 31, 2020, and in the
      document titled, “Extraordinary Measures – Return Ballot Mail Processing
      Policy,” dated October 28, 2020, special, extraordinary measures to process
      and deliver ballots are now in place.

   4. Greater Michigan – service in this district is impacted by COVID-19 and
      employee unavailability. Employees from other facilities are being moved to
      the processing plant to mitigate this problem, as needed. Overtime is being
      maximized. USPS has also hired new employees. As discussed in Mr.
      Barber’s and Mr. Coleman’s testimony on October 31, 2020, and in the
      document titled, “Extraordinary Measures – Return Ballot Mail Processing
      Policy,” dated October 28, 2020, special, extraordinary measures to deliver
      ballots are now in place.

       For those additional districts that had an inbound ballot processing score of
either (i) less than 80 percent on November 4, 2020 or (ii) less than 90 percent on
November 3, 2020 and November 4, 2020, Defendants again caution, as they have
previously, that the daily reports are unreliable for a number of reasons.

      First, as Defendants have explained, the daily processing scores do not
include ballots that are turned around in local delivery units, which are delivered
the same day with a near 100% success rate. In all processing plants, extraordinary
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measures have been put into place, as set forth in the testimony and Extraordinary
Measures memorandum referenced above. While the Postal Service’s measurement
system was approved by the Postal Regulatory Commission, and the
service-performance data is accurate (and has been validated by third-party
auditors) for purposes of quarterly reporting, the daily District data for ballots that
are being reported pursuant to federal court orders do not provide a
representatively accurate measurement of the Postal Service’s service performance
for Election Mail.

      Second, as noted previously, only a subset of ballots is capable of being
tracked (i.e., those identified by IMB or STIDs).

       Third, many ballots are not be captured by the Postal Service’s measurement
system, even if they could be tracked. The system tracks the performance of ballots
within the operational network, and specifically the time between a mailpiece’s first
and last processing scan. As noted, because of the extraordinary measures that
USPS has implemented, many delivery units have arranged for a “local turnaround”
of ballots so that ballots are delivered locally, without ever entering the processing
operation. Even for ballots that enter the processing operations, many receive a
special sort to expedite delivery, and thereby do not receive a last processing scan
that would allow them to be captured by the performance scores. In short, the scores
are not representative because USPS’ extraordinary measures, which expedite
delivery, are resulting in ballots not being captured by its service-performance
data.

      Fourth, processing scores are calculated and measured when the last
processing event is seen on the equipment and not against the date in which the
mail was entered. As mail in the system tapers off and late pieces from prior higher
volume days arrive at their destination, the processing scores are impacted, often
negatively. Put another way, processing scores as a measurement for a particular
mailing with volume that spikes and declines (as is typical for outbound and
inbound ballots) is not representative of processing performance due to what the
Postal Service refers to as the “tail of the mail.” The score is measured when the
mailpiece receives the last processing scan, so that as time moves on, the scores will
decline towards zero as the only pieces remaining in the system are the failures. A
more representative assessment of the processing score for ballots by District would
consider all ballots measured for the duration of the election season.

       Fifth, the volume of ballots measured on any particular day is often too small
to be statistically significant. For example, if there are 5 ballots that fail to meet
their standard, but 100 ballots total, the processing score will be significantly
different than if there are 5 ballots that fail to meet their standard, but only 10
ballots in total. As the denominator decreases, as would be expected with ballots,
the processing scores will continue to go down.
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      In summary, the daily data provided is unreliable for a number of reasons.
Nonetheless, the Postal Service is in touch with the facilities identified above and
others to ensure that extraordinary measures are being implemented to
expeditiously move the mail.
